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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

TRAVIS WIDNER,                                   §
                                                 §
       Plaintiff,                                §
                                                 §    CIVIL ACTION NO. __________
v.                                               §
                                                 §    Removed from the Second Judicial
JP MORGAN CHASE BANK,                            §    District Court of Ramsey County,
                                                 §    Minnesota
       Defendant.                                §    Court File No. 62-CV-20-4327


                         DEFENDANT’S NOTICE OF REMOVAL

TO:    United States District Court
       for the District of Minnesota
       316 North Robert St., Suite 100
       St. Paul, MN 55101

       Court Administrator of Ramsey County, Minnesota
       15 W Kellogg Blvd.
        St. Paul, MN 55102

       Patrick W. Michenfelder
       THRONDSET MICHENFELDER, LLC
       Cornerstone Building
       One Central Avenue W., Suite 101
       St. Michael, MN 55376


       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant JP Morgan Chase & Co.

(“Chase”), by and through its attorneys, Kathryn C. Palamountain of Seyfarth Shaw LLP, and

Marc M. Berg of J. Selmer Law, P.A., hereby file this Notice of Removal with respect to this civil

action, Court File No. 62-CV-20-4327, filed in the Second Judicial District Court of Ramsey

County, Minnesota. In support of this Notice of Removal, Chase states as follows:

       1.      Plaintiff Travis Widner (“Widner”) commenced a civil action against Chase on July

23, 2020, in the State of Minnesota County of Ramsey District Court, Second Judicial District (the


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“State Court”). The lawsuit was filed with the State Court on August 7, 2020 and is recorded on

the docket of the State Court as Court File No. 62-CV-20-4327 (“the State Action”). A true and

correct copy of Plaintiff’s Original Complaint (the “Complaint”) and the Service of Process

Transmittal information provided by CT Corporation, Chase’s agent for service, which indicates

that Chase was served on July 23, 2020, is attached as Exhibit A.

       2.      In accordance with 28 U.S.C. § 1446(b), Chase filed this Notice of Removal within

thirty (30) days of the date on which the Complaint was served, and is therefore timely.

       3.      Venue is proper in this district under 28 U.S.C. § 1441 (a) because this District and

division embrace the place where the action was filed.

       4.      Written notice of the filing of this Notice of Removal is being delivered to Plaintiff

through his counsel of record. A copy of the Notice of Filing Notice of Removal also is being

filed with the Clerk of the Second Judicial District Court of Ramsey County, Minnesota. A true

and correct copy of the Notice of Filing Notice of Removal is attached as Exhibit B.

       5.      Under 28 U.S.C. § 1331, this Court has original jurisdiction over the instant action

because Plaintiff asserts a claim under federal law. In his Complaint, Plaintiff claims that Chase

violated Title III of the Americans with Disabilities Act, 42 U.S. C. § 12181-12189. See, Ex. A,

Compl, ¶¶ 1-10, 20-26, 32-39, 41-55.

       6.      Because Plaintiff asserts a claim under the laws of the United States, this Court has

original federal question jurisdiction over Plaintiff’s action. Accordingly, removal of Plaintiff’s

Complaint is proper pursuant to 28 U.S.C. § 1331.

       7.      Attached as Exhibit C is a copy of all process, pleadings, orders, and other papers

or exhibits of every kind on file in the state court. 28 U.S.C. § 1446(a).




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       8.      By filing this Notice of Removal, Chase neither concedes nor waives any defense

to this action, including Plaintiff’s standing to bring this action and that this Court does not have

personal jurisdiction over Chase.

       Should Plaintiff seek to remand this case to the State Court, Chase respectfully asks that it

be permitted to brief and argue the issue of this removal prior to any order remanding this case. In

the event the Court decides remand is proper, Chase asks that the Court retain jurisdiction and

allow Chase to file a motion asking the Court to certify any remand order for interlocutory review

by the Eighth Circuit Court of Appeals, pursuant to 28 U.S.C. § 1292(b).

       WHEREFORE, Chase respectfully removes this action from the Second Judicial District

Court of Ramsey County, Minnesota to the United States District Court for the District of

Minnesota.




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                                                 Respectfully submitted,

                                                 /s/ Kathryn C. Palamountain
                                                 KATHRYN C. PALAMOUNTAIN
                                                 Motion for Pro Hac Vice Admission
                                                 Forthcoming
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                                                 /s/ Marc M. Berg
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                                                 Facsimile: (612) 338-4120
                                                 Email: mberg@selmerlaw.com
                                                 ATTORNEYS FOR DEFENDANT
                                                 JPMORGAN CHASE BANK


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served on all
counsel of record, as listed below, via First Class U.S. mail and email on August 12, 2020.

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                                             /s/ Kathryn C. Palamountain
                                             Kathryn C. Palamountain


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